               Case 20-00662-jw                 Doc 80-3 Filed 08/04/20 Entered 08/04/20 16:39:33                                                Desc
                                                Exhibit C - PureCycle APA Page 1 of 17




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 STATE OF SOUTH CAROLINA                        )
                                                )                ASSET PURCHASE AGREEMENT                              Moved (inser,on) [1]
 COUNTY OF CHARLESTON                           )                                                                      Forma4ed: Font: Bold
                                                                                                                       Forma4ed: Indent: Le;: 0.07"
                                                                                                                       Forma4ed: Font: Bold
THIS ASSET PURCHASE AGREEMENT (the “Agreement”) is made and entered into, on June 25, 2020
(the “Modification Date”), by and between Watertech Holdings, LLC (f/k/a Watertech Equipment and Sales, LLC), a        Deleted: ¶
South Carolina limited liability company (“Watertech” and/or the “Seller”), and Purecycle LLC, a Florida limited       ¶
                                                                                                                       STATE OF SOUTH CAROLINA! )¶
liability company (the “Buyer”). The Seller/Watertech and the Buyer are referred to herein each individually as a      )¶
“Party” and collectively as the “Parties”.                                                                             COUNTY OF CHARLESTON! )¶
                                                                                                                                              Column Break
                                         R–E–C–I–T–A–L–S                                                               ¶
                                                                                                                       ¶

 WHEREAS, Watertech was formerly engaged in various commercial concerns and owns certain assets                        Moved up [1]: ¶
 incidental thereto (as more particularly described and set forth herein) all under the business and
 tradename “Watertech” (such business and assets are collectively referred to herein as the “Business”);               Forma4ed: Indent: Le;: 0.07", Space Before: 0 pt, Line
 and                                                                                                                   spacing: Exactly 1.5 pt
                                                                                                                       Forma4ed: Normal, Indent: Le;: 0", Right: 0", Space
 WHEREAS, Watertech has filed a Chapter 11 case (the “Case”) in the U.S. Bankruptcy Court for the                      Before: 4.5 pt, Tab stops: 0.55", Le; + 1.19", Le; + 2.2",
 District of South Carolina (the “Court”) (Case No. 20-00662-jw) under 11 U.S.C. Section 101, et seq.                  Le; + 2.71", Le; + 3.76", Le; + 4.44", Le; + 5.5", Le; +
                                                                                                                       6.75", Le;
 (the “Code”), and wishes, thereby, to sell and transfer all of its right, title and interest in and to the Business
 and the Assets, as expressly defined herein below, free and clear of all liens, claims or interests pursuant          Deleted: ! FIRST! AMENDED! AND! RESTATED
 to a final and unappealable Order of the U.S. Bankruptcy Court (“Order”) under Section 363 of the Code                Deleted: !
 (the “Sale”); and                                                                                                     Deleted: ¶
                                                                                                                       Deleted: Watertech Asset Acquisition Group, LLC
 NOW THEREFORE, BY THESE PRESENTS, in consideration of the premises set forth herein above                             Deleted: South Carolina
 and the mutual covenants and promises of the Parties set forth herein below, and for other good and
                                                                                                                       Deleted: WHEREAS, the Parties entered into that certain
 valuable consideration, the receipt and sufficiency of which is hereby acknowledged, the Parties hereby               original Asset Purchase Agreement dated January 23, 2020
 agree as follows:                                                                                                     (the “Original Agreement”); and¶
                                                                                                                       ¶

 Purchase and Sale of Assets. Subject to the terms and conditions contained herein, the Seller hereby sells,           Deleted: ¶
                                                                                                                       WHEREAS, third-parties, creditors, and the US Trustee,
 assigns, transfers, conveys and delivers to Buyer, and the Buyer hereby purchases from the Seller, all of             objected to various matters set forth in the Original
 Seller’s collective or individual rights, titles and/or interests in and to the all of its “Assets” in the Sellers    Agreement (the “Objections”); and¶
 possession on the Closing Date UNLESS expressly excluded in this Agreement or pursuant to the                         ¶
 Buyer’s Exclusion Right, as set forth herein, including but not necessarily limited to:                               Deleted: WHEREAS, the Buyer has chosen to address said
                                                                                                                       Objections directly by proffering this First Amended and
                                                                                                                       Restated Asset Purchase Agreement for acceptance and
         (a)     All that certain tangible and intangible personal property used by the Seller in the conduct          ratification by the Seller (and subject to approval by the
                 of the Business, to be described further at a later date; and                                         Court); and¶
                                                                                                                       ¶
                                                                                                                       WHEREAS, the Buyer is now offering additional
         (b)     All right, title, and interest in and to any of Seller’s designs, schematics, inventions, patents,    consideration in exchange for removing certain other
                 trademarks, source code, software, applications, electronics, equipment, supplies,                    consideration from the Original Offer that were deemed
                 machinery or other assets used to conduct the Business, to be described further at a later            controversial and subject to the Objections.¶
                                                                                                                       ¶
                 date; and
                                                                                                                       Deleted: h

         (c)     All codebase/software incidental or related to, and all other content relate to the Business,         Deleted: ¶                                             ... [1]
                 including without limitation environmental and hazard remediation technology details,
                 marketing collateral, lists, customer lists, customer leads, infrastructure accounts, or any
                 other information and/or assets determined by Buyer to be necessary or required to operate
                 the Business as of the Closing Date, in each case as same exists on and as of the Closing
                 Date; and


                                                         13
              Case 20-00662-jw                 Doc 80-3 Filed 08/04/20 Entered 08/04/20 16:39:33                                   Desc
                                               Exhibit C - PureCycle APA Page 2 of 17




        (d)     All accounts receivable of Seller and the Business in existence on and as of the Closing
                Date (the “Watertech A/R”); and

        (e)     Any and all goodwill associated with the Business and/or the Assets (collectively, the
                “Goodwill”); and

        (f)     All right, title, and interest in and to Seller’s trade and business names and logos for or
                relating to the Business, including without limitation any actual formal trademark filings
                or registrations with the U.S. Patent and Trademark office and any common law trademarks
                or tradedress, to be described further at a later date (collectively, the “Tradedress”); and

        (g)     All right, title, and claim in and to Seller’s intellectual property used for, in or in any way
                relating to the Business, including without limitation any actual formal patent filings or
                registrations with the U.S. Patent and Trademark office, including, to be described further
                at a later date (collectively, the “Technology IP” and the Technology IP and the
                Intellectual Property are collectively referred to herein as the “Intellectual Property”).

        (h)     All right, title, interest and/or claim in or to that certain 5% profit-share vested in Watertech
                by NanoPure, LLC that resulted from the full and final transfer of that certain exclusive
                license from the Battelle Memorial Institute, having a place of business in Richland,
                Washington (the “Battelle License”) to NanoPure, LLC (the “Battelle Profit-Share”);
                and

        (i)     All right, title, interest and/or claim in or to any consideration owed or profit-share (if any)
                other than the Battelle Profit-Share, under that certain Exclusive Patent Sublicense
                Agreement dated October 31, 2017, as amended from time-to-time; and

        (j)     All right, title and interest in and to the Watertech telephone numbers; the Watertech
                internet website domains, and domain specific email addresses, and the accounts related
                thereto, used in the Business, to be described further at a later date (collectively, the
                “Telephone and Internet Assets”); and
        (k)     All business records, books and data in the possession of or used by Seller in the Business,        Deleted:   Section Break (Next Page)
                including customer files, customer lists, correspondence with customers and account
                histories, sales literature and promotional or other material, and documents relating to the
                Intellectual Property, applications, code, software, materials, supplies and services; and

        (l)     Those matters on the attached Exhibit 1; and

        (m)     Notwithstanding anything to the contrary contained herein, any and all properties and
                claims without exception unless specifically excluded herein.

Transfer of the Seller’s collective rights, titles and interests in and to the Assets shall be pursuant to a bill
of sale which shall be executed and delivered on the Closing Date.

2.     Excluded Assets. Notwithstanding the foregoing, the following assets shall be excluded from the
Assets, and shall be retained by the Seller from and after the Closing Date (collectively, the “Excluded
Assets”): cash and cash equivalents held by, or held in the bank accounts of, the Seller as of the Closing
Date. Any causes of action under Chapter 5 of the Bankruptcy Code.

3.      Liabilities.


                                                       13
      Case 20-00662-jw                      Doc 80-3 Filed 08/04/20 Entered 08/04/20 16:39:33                                             Desc
                                            Exhibit C - PureCycle APA Page 3 of 17




(a)           No Assumption of Liabilities. Save and except for the Post-Closing Business Obligations
              (if any) to be described further at a later date, the Seller expressly acknowledges and agrees
              that the Buyer does not assume and does not agree to assume, and hereby disclaims all
              liability or obligation for, any and all liabilities or obligations of Seller, whether direct or
              indirect, known or unknown, absolute or contingent, of any type or nature whatsoever,
              including but not limited to the following liabilities (all, collectively, the “Excluded
              Liabilities”):

        (i)          any claim, liability or obligation for breach or default of any of the contracts of the
                     Seller or the Business, except for the Post-Closing Business Obligations; and

       (ii)          any other obligations or liabilities of Seller or the Business, of any type or nature
                     whatsoever, including without limitation those which pertain or relate to: (A) assets
                     other than the Assets; (B) liabilities of Seller other than those included in the Post-
                     Closing Business Obligations; (C) any business operations of Seller prior to the
                     Closing Date (including without limitation operations relating to the Business); and
                     (D) any non-Business operations of Seller at any time prior to or after the Closing
                     Date; and

      (iii)          any foreign, federal, state, county or local income, excise, withholding, property,
                     sales, use, franchise or other taxes of any of the Seller, or of the Business, accrued,
                     due and/or owing before the Closing Date; and

      (iv)           any costs and expenses incurred by Seller and/or the Business incident to the
                     negotiation and preparation of this Agreement and the consummation of the
                     transactions contemplated hereby; and

       (v)           save and except for the tax liabilities specifically attributable to Buyer as set forth
                     in Section 10 below, any tax liability of Seller, or the Business, resulting from the
                     transactions contemplated herein, including, without limitation, any recapture by
                     Seller or the Business of investment tax credit or depreciation; and
                                                                                                                 Forma4ed: JusRﬁed, Indent: Le;: 1.6", No bullets or
                                                                                                                 numbering
      (vi)           any claim, demand, or cause of action, of any kind, not assumed as part of the Post-
                     Closing Business Obligations, relating to: (A) the ownership, control or operation          Deleted:           Section Break (Next Page)
                                                                                                                 ¶
                     of the Business at any time prior to or after the Closing Date; or (B) the ownership,
                     control or operation of non-business operations of Seller at any time prior to or after
                     the Closing Date; and

      (vii)          any wages, salary, severance, compensation, payments, bonuses, commissions,
                     vacation or holiday pay, medical benefits, post-retirement medical benefits, fringe
                     benefits, long-term disability benefits, life insurance benefits, any duties,
                     obligations or liabilities arising under any employee benefit plan, policy or practice,
                     whether defined by Section 3(3) of the Employee Retirement Income Security Act
                     of 1974, as amended and in effect (“ERISA”) or otherwise, relating to the
                     employees or independent contractors of the Business; and

  (viii)             any wages, salary, severance, compensation, bonuses, commissions, vacation or
                     holiday pay, medical benefits, post-retirement medical benefits, fringe benefits,
                     long-term disability benefits, life insurance benefits, any duties, obligations or
                     liabilities arising under any employee benefit plan, policy or practice, whether
                     defined by Section 3(3) of ERISA or otherwise, accruing at any time prior to or

                                                    13
            Case 20-00662-jw                    Doc 80-3 Filed 08/04/20 Entered 08/04/20 16:39:33                                           Desc
                                                Exhibit C - PureCycle APA Page 4 of 17




                          after any date of Closing and/or relating to any employees or independent
                          contractors of Seller’s non-Business operations; and



            (ix)          save and except for those items assumed as part of the Post-Closing Business
                          Obligations, any other amounts due to any employees or former employees or
                          independent contractors of Seller and/or the Business; or

            (x)           any other liability or obligation of Seller or the Business, of any type or nature
                          whatsoever, save and except for those items assumed as part of the Post-Closing
                          Business Obligations, arising or accruing prior to or after the Closing Date.

      (b)          Assumed Liabilities. Buyer shall only assume, as post-closing business obligations, the
                   performance obligations of Seller and the Business to be described further at a later date,
                   but Buyer shall NOT assume any other or further liabilities or obligations of Seller of any
                   type or nature whatsoever (the “Post-Closing Business Obligations”). Except for the Post-
                   Closing Business Obligations, any and all other liabilities or obligations of Seller and/or
                   the Business shall at all times be and remain the sole and exclusive liabilities and
                   obligations of Seller, and thus are hereby disclaimed in entirety and in perpetuity by the
                   Buyer. Buyer’s assumption of the Post-Closing Business Obligations shall be
                   memorialized by an assignment and assumption agreement.

4.     Purchase Price; Purchase Price Apportionment; Other Terms. The “Purchase Price” for the
purchase and sale of the Assets and the assignment and assumption of the Post-Closing Business
Obligations shall be due, payable, allocable and creditable as follows:                                           Deleted: .


      (a)          Closing Date Payment. The sum of Two Hundred Seventy-Five Thousand Dollars and                      Deleted: One Hundred Fifteen
                   00/100 US dollars ($275,000.000) shall be due and payable by the Buyer to Seller on and             Deleted: 115
                   as of the Closing Date (the “Purchase Price” aka the “Closing Date Payment”). This                  Deleted: 000.0
                   Closing Date Payment is subject to increase due to the need to auction this property through
                   the bankruptcy process. In the event there is competitive bidding, and Buyer is the
                   winning bidder this Closing Date is subject to increase due to said bidding and will be set
                   and established in the amount of Buyer’s winning bid.
                                                                                                                  Deleted:             Section Break (Next Page)
      (b)          The Purchase Price shall be apportioned in such manner and amounts to be described             bidder, this Closing Date Payment is subject to increase due
                                                                                                                  to said bidding and will be set and established in the amount
                   further by the Buyer at a later date.                                                          of Buyer’s winning bid.¶
                                                                                                                  Forma4ed: Right: 0.04", Space Before: 3.35 pt
      (c)          The Purchase Price stated above is not refundable, save and except for the
                   requirement that this Agreement is approved by the Court pursuant to a non-
                   appealable final Order as the first and only agreement. However, notwithstanding
                   anything to the contrary contained herein, if for any reason this Agreement is not
                   approved by the Court as the first and only agreement, then in the Buyer’s sole
                   discretion the Agreement may either be withdrawn in its entirety or maintained as a
                   back-up contract; and in either of those events, the Purchase Price becomes fully
                   refundable unless this Agreement is ultimately consummated at Closing. Further, if
                   the Buyer’s Agreement does not close because another contract was approved by the
                   Court and ultimately closed, then the Buyer shall be entitled to a return of the $10,000
                   of earnest money paid to secure Seller’s patent          plus its reasonable legal fees
                   not to exceed an additional $10,000 (subject to Court approval) for its efforts in
                   procuring the Agreement and participating in the Case, all to be paid at Closing by

                                                        13
             Case 20-00662-jw                    Doc 80-3 Filed 08/04/20 Entered 08/04/20 16:39:33                                           Desc
                                                 Exhibit C - PureCycle APA Page 5 of 17




                     the Seller.


       (d)           The Closing Date Payment was escrowed with counsel for the Buyer prior to the Seller
                     filing a petition for relief under Chapter 11 of the Bankruptcy Code. Such escrow of the
                     Closing Date Payment is a material term of this agreement such that any upset bidder will
                     be required to similarly escrow funds to be considered a qualified competing bidder.

       (e)           The Buyer hereby reserves the right to modify, and thereby increase, the consideration set
                     forth herein above by including any additional valuable consideration the Buyer may so
                     choose to offer – including, but not limited to, the forgiveness of debt and the value of
                     judgements.
                                                                                                                  Deleted: ¶
5.      Closing Date. The Parties acknowledge and agree that the closing of the transactions contemplated         Buyer has removed several items of consideration that were
                                                                                                                  present in the Original Agreement. Notwithstanding the
by this Agreement, including its exhibits, (the “Closing”) will occur within 10 business days after the           foregoing, the Buyer specifically reserves the right to include
entry of the Order approving this Agreement and the underlying Sale (the “Closing Date”).                         certain of said items should the need arise during the bidding
                                                                                                                  process. Said reservations are set forth and outlined herein
                                                                                                                  below:¶
6.      Right of Exclusion. If, following the Chapter 11 filing by Watertech, the Buyer chooses to exclude        ¶
one or more asset from the Assets (the “Exclusion Right”), then the Buyer agrees to provide Seller with           The Post-Closing Payments outlined in the Original
express written notice of any said excluded Asset (the “Exclusion Notice”). However, if no such notice            Agreement are removed but may be included as part of a
                                                                                                                  future bid submitted by Buyer.¶
is provided, then all Assets as previously described herein that exist on the Closing Date will be the final      ¶
list of Assets. Notwithstanding anything herein to the contrary, if any Assets become subject to the              The right to waive the claim asserted by David Pobiak, in the
Exclusion Right, then the Buyer agrees that the Purchase Price shall remain unchanged and without set-            approximate amount of $175,000.00, is reserved and said
                                                                                                                  claim may be waived in full or in part.¶
off.                                                                                                              ¶
                                                                                                                  In response to the objections submitted by Scott Alderson’s
7.     Representations and Warranties and Covenants of Seller. Seller jointly and severally represent and         former spouse, the right to waive the claim payable to Mr.
                                                                                                                  Alderson is NOT reserved and said claim will not be waived
warrant to Buyer as follows:                                                                                      as part of this sale agreement.¶
                                                                                                                  ¶
       (a)           Organization. Watertech is a limited liability company duly organized, validly existing      In response to the objections submitted by Scott Alderson’s
                                                                                                                  former spouse, the right to waive the claim payable to Global
                     under the laws of the State of South Carolina.                                               Financial Services, LLC, in the approximate amount of
                                                                                                                  $625,200.00, is NOT reserved and said claim will not be
       (b)           Authority.                                                                                   waived as part of this sale agreement. ¶
                                                                                                                  ¶
                                                                                                                  As further consideration to the Seller in exchange for these
              (i)           Seller has the full power and authority to enter into this Agreement, to consummate   concessions to the contract, Buyer is offering to increase the
                            the transactions contemplated hereby and to comply with the terms, conditions and     purchase price to $2750,000, which is five bid increments, as
                                                                                                                  that is set out in the Bid Procedures order entered by the
                            provisions hereof. The execution, delivery and performance of this Agreement by       Court in the bankruptcy Case of Seller. If Buyer is the
                            Watertech has been duly authorized and approved by all requisite corporate action,    successful bidder that would mean that the Closing Date
                            subject to the entry of the Order.                                                    Payment would be $275,000240,000 (which does not
                                                                                                                  includes the $125,000 that is already paid $10,000 to secure
                                                                                                                  the Debtor’s patent) and would include the $115,000
             (ii)           The execution, delivery and performance of this Agreement and the consummation        currently held as earnest money by the Debtor’s attorney and
                            of the transactions contemplated hereby or compliance with or fulfillment of the      the additional $150,000 that is currently held as earnest
                                                                                                                  money by Buyer’s attorney.) Buyer will bring an additional
                            terms and provisions hereof or of any other agreement or instrument contemplated      $125,000 to closing to bring its starting bid to the total of
                            hereby, do not and will not conflict with or result in a breach of any agreement to   $250,000.¶
                            which any of Seller or the Business is a party.                                       Deleted: 20

             (iii)          This Agreement has been duly executed and delivered by Seller and is the legal and
                            valid obligation of Seller enforceable against Seller in accordance with its terms,
                            subject to the jurisdiction of the Court and the entry of the Order.

                     Litigation. Watertech filed a petition for relief under chapter 11 of the United States
                     Bankruptcy Code and is currently effectuating a sale under the oversight of the Bankruptcy

                                                         13
      Case 20-00662-jw                    Doc 80-3 Filed 08/04/20 Entered 08/04/20 16:39:33                               Desc
                                          Exhibit C - PureCycle APA Page 6 of 17




             Court. Watertech is also the plaintiff derivative shareholder action styled as Watertech
             Holdings, LLC f/k/a Watertech Equipment and Sales, LLC by and through its members
             David L. Stern and David V. Pobiak v. Glenn I. Barrett, Keith J. Johnson, Eric Frische,
             Robert Fei, Tectrucks, LLC, Rivendell, LLC, Barron Algae, LLC and Cleanstrike, LLC,
             Case No.: 2018-CP-10-3412 pending before the Charleston County Court of Common                  Deleted: ¶          ... [2]
             Pleas (the “Derivative Action”). With the exception of the matters disclosed herein, there
             exists no litigation, action, suit, claim or proceeding pending, or to the knowledge of any
             of the Seller threatened, against or affecting the Business, the Assets and/or the Post-
             Closing Business Obligations, at law or in equity, before any mediator, arbitrator, court or
             governmental authority.

(c)          Taxes. “Tax Returns” means all returns, reports, statements, and forms required to be filed
             in respect of any tax due to a municipal authority.

      (i)           Save and except for any taxes owed by Buyers with respect to the purchase and sale
                    transaction set forth herein, or any taxes for which the Buyer is obligated hereunder,
                    Seller has paid, or will pay when due or finally settled (or treated through Seller’s
                    bankruptcy), all taxes relating to the Business that are or become due and payable,
                    for all periods up to and including the Closing Date, or that may be occasioned at
                    any time by the payment of the Purchase Price by Buyer. Seller will file all Tax
                    Returns relating to the Business, for all periods up to and including the Closing
                    Date.

      (ii)          There are no liens for such taxes on the Assets or the Business.




(d)          Title to Properties; Encumbrances; Sufficiency of Assets. Seller, as applicable, has good,
             valid and marketable title to its respective assets that form the Assets. None of the Assets
             are subject to any mortgage, pledge, lien, security interest, encumbrance or charge of any
             kind. Seller has the complete and unrestricted power and the unqualified right to sell,
             assign, transfer and deliver to Buyer subject to the jurisdiction of the Court and the entry
             of the Order, and Buyer is acquiring, good, valid and marketable title to, the Assets, free
             and clear of all mortgages, pledges, liens, security interests, conditional sales agreements,
             encumbrances, claims or charges of any kind pursuant to the Order. The Bill of Sale,
             Assignment and Assumption Agreement, and the deeds, endorsements, assignments and
             other instruments being executed and delivered to Buyer by Seller at the Closing are valid
             and binding obligations of the Seller, enforceable in accordance with their terms, and will
             effectively vest in Buyer good, valid and marketable title to all the Assets and assign to
             Buyer the Post-Closing Business Obligations. To Seller’s knowledge, Seller’s Assets and
             Business operations do not infringe upon the rights of any third-party, including without
             limitation upon the intellectual property rights of any third-party.

(e)          Ordinary Course Operations; Financials. The Seller has ceased conducting the Business in
             the ordinary course, and there has not occurred with respect to the business any material
             adverse change or event since that date. The financial data and other information provided
             to Buyer in the context of due diligence, as delivered to Buyer prior to the Closing of this
             Agreement, are true and correct in all material respects, and reflect the actual financial
             status, working capital, profits and losses, and the status of the Business as of the dates
             such documents were provided to Buyer.

                                                  13
           Case 20-00662-jw                      Doc 80-3 Filed 08/04/20 Entered 08/04/20 16:39:33                                          Desc
                                                 Exhibit C - PureCycle APA Page 7 of 17




     (f)           Consents. Except the Bankruptcy Court’s approval of Watertech’s motion to sell assets
                   based upon this APA, no consent(s) are required from any third-party person or entity to
                   authorize the transactions contemplated by this Agreement, including without limitation
                   the purchase and sale of the Assets and the assignment and assumption of the Post-Closing
                   Business Obligations (collectively, the “Consents”). Seller covenants and agrees to obtain
                   and deliver to Buyer at Closing all Consents (if any), the delivery of which at Closing shall
                   be a condition precedent to Buyer’s performance of the terms and conditions of this              Deleted:            Section Break (Next Page)
                   Agreement and Buyer’s consummation of a Closing hereunder.                                       Forma4ed: JusRﬁed
                                                                                                                    Deleted: A
     (g)           No Reliance. Except for the representations and warranties contained in this Agreement,
                   Buyer has not relied upon, and has not been induced to enter into this Agreement by, any
                   other representations or warranties or any other information made on behalf of any of the
                   Seller. The Parties, with their consultants and representatives, are sophisticated business
                   persons, and have had opportunity to be represented by their own counsel.

     (h)           Post-Closing Operations. Post-closing, the Seller will cease operations except for the
                   purposes of closing the Bankruptcy case and assisting the Buyer, at the buyers expense, in
                   any reasonable matters it may require that involve the Assets.

8.   Representations and Warranties of Buyer. Buyer represents and warrants to Seller as follows:

     (a)           Organization. Buyer is a limited liability company duly organized and validly existing and
                   in good standing under the laws of the State of South Carolina. Buyer has the power and
                   authority to own its own properties and assets and to carry out its businesses and operations.




     (b)           Authority.

            (i)           Buyer has the full power and authority to enter into this Agreement, to consummate
                          the transactions contemplated hereby and to comply with the terms, conditions and
                          provisions hereof. The execution, delivery and performance of this Agreement by
                          Buyer has been duly authorized and approved by all requisite action.
                                                                                                                    Deleted: ¶
           (ii)           The execution, delivery and performance of this Agreement and the consummation
                          of the transactions contemplated hereby or compliance with or fulfillment of the
                          terms and provisions hereof or of any other agreement or instrument contemplated
                          hereby, do not and will not conflict with or result in a breach of any agreement to
                          which Buyer is a party.

           (iii)          This Agreement has been duly executed and delivered by Buyer and is the legal,
                          valid and binding obligation of Buyer enforceable against Buyer in accordance with
                          its terms, subject to the jurisdiction of the Court and the entry of the Order.

     (c)           Litigation. There exists no known litigation, action, suit, claim or proceeding pending
                   against or affecting Buyer, at law or in equity, before any court or governmental authority
                   other than as disclosed herein.

     (d)           No Reliance. Except for the representations and warranties contained in this Agreement,
                   Buyer has not relied upon, and has not been induced to enter into this Agreement by, any

                                                        13
           Case 20-00662-jw                     Doc 80-3 Filed 08/04/20 Entered 08/04/20 16:39:33                                 Desc
                                                Exhibit C - PureCycle APA Page 8 of 17




                   other representations or warranties or any other information made on behalf of Seller. The
                   Parties with their consultants and representatives are sophisticated business persons, and
                   have had opportunity to be represented by their own counsel.

9.   Conditions to Closing.

     (a)           The obligations of Buyer to be performed under this Agreement and its exhibits are subject
                   to the fulfillment, on or before the Closing Date, of the following conditions precedent:

             (i)          Representations and Warranties Correct. All representations and warranties of            Deleted:   Section Break (Next Page)
                          Seller made in this Agreement or in any certificate, schedule, instrument or other
                          document delivered pursuant to this Agreement or in due diligence in advance of
                          the execution of this Agreement shall be true and correct in all material respects,
                          including without limitation relating to financial performance and status of the
                          Business and as if made and/or updated on and as of the Closing Date.

            (ii)          Performance. Seller shall have performed and complied with all covenants, terms
                          and conditions required by this Agreement to be performed or complied with by
                          Seller prior to or on the Closing Date, in all material respects, including obtaining
                          the Order.

           (iii)          [INTENTIONALLY OMITTED]

           (iv)           Company Proceedings. Watertech shall have delivered to Buyer copies of
                          resolutions of such Seller, sufficient in the judgment of Buyer’s counsel to authorize
                          the performance of the transactions hereunder by Watertech.

            (v)           Other Consents. All Consents and approvals necessary for the valid consummation
                          of the transactions contemplated by this Agreement and its exhibits, if any, shall
                          have been obtained by Seller and delivered to Buyer, and all certifications and
                          assurances reasonably required by Buyer with respect thereto shall have been
                          obtained and delivered.

           (vi)           Adverse Proceedings. No action, suit, or proceeding shall be pending or threatened
                          before any court or quasi-judicial or administrative agency of any federal, state,
                          local, or foreign jurisdiction or before any arbitrator relating to the Assets and/or
                          the Business and/or any Post-Closing Business Obligations other than those
                          disclosed in this Agreement.

           (vii)          Searches. Buyer shall procure, at Buyer’s sole expense, the following: UCC, lien,
                          judgment, tax and bankruptcy searches as against each of the Seller and the
                          Business, prior to the Closing; and the Seller represents that such searches shall
                          show no liens, judgments, taxes due or bankruptcies except the Case within five (5)
                          business days of the Closing Date, and showing that there are no liens against the
                          Assets that are not being released as part of the Court order approving this sale.

       (viii)             Sales Taxes. Any sales tax delinquency of Seller, relating to the Business, from
                          any time or period, shall be paid in full by Seller in advance of Closing.

     (b)           The obligations of Seller to be performed under this Agreement are subject to the
                   fulfillment, on or before the Closing Date, of the following conditions precedent:

                                                        13
             Case 20-00662-jw                     Doc 80-3 Filed 08/04/20 Entered 08/04/20 16:39:33                                         Desc
                                                  Exhibit C - PureCycle APA Page 9 of 17




              (i)           Representations and Warranties Correct. All representations and warranties of
                            Buyer in any certificate, exhibit, schedule, instrument or other document delivered
                            pursuant to this Agreement, shall be true and correct in all material respects as if
                            made on the applicable date of Closing.

             (ii)           Performance. Buyer shall have performed and complied with all covenants, terms
                            and conditions required by this Agreement to be performed or complied with by it
                            prior to or on the applicable date of Closing.
                                                                                                                   Forma4ed: Font: 12 pt

             (iii)          Company Proceedings. If reasonably requested by Seller in writing prior to the         Forma4ed: JusRﬁed, Indent: Le;: 1.6", No bullets or
                                                                                                                   numbering
                            Closing Date, Buyer shall have delivered to Seller copies of resolutions and other
                            company proceedings of Buyer sufficient to authorize the transactions by Buyer         Deleted:           Section Break (Next Page)
                                                                                                                   ¶
                            hereunder.

10.     Sales Tax Compliance. Buyer and Seller shall cooperate to comply with all applicable state sales
tax/bulk sales laws, including, without limitation, Section 1141(c) of the South Carolina State Tax Law
and any commensurate laws of the State of South Carolina. Buyer shall file any notices required to be
provided to the South Carolina State Department of Taxation Bulk Sales Unit or any commensurate
Agency in the State of South Carolina (each, a “Bulk Sales Unit”) at least ten (10) business days prior to
the Closing Date (each, a “Bulk Sales Filing”). In the event a Bulk Sales Filing identifies sales tax
remittance delinquencies by any Seller and/or the Business (any, a “Sales Tax Delinquency”), Seller shall
jointly and severally be liable for and immediately pay and resolve the Sales Tax Delinquency directly
with the applicable state agency, such that all Sales Tax Delinquency is paid in full and a release thereon
received from the applicable state tax department, on or prior to the Closing Date. Seller shall, jointly and
severally, defend, indemnify and hold harmless Buyer from and against any and all Sales Tax
Delinquency, in perpetuity and in entirety and whether arising prior to or after any Closing, and Buyer
may set-off against the Watertech Payments for any such liabilities incurred. In the event a Bulk Sales
Filing generates sales taxes due as a result of the purchase and sale of tangible non-exempt Assets, such
sales tax payment obligation shall be the responsibility of Seller, which shall tender payment of same
contemporaneously with the Closing.

11.    Other Agreements.

       (a)           Further Assurances. From time-to-time after the execution of this Agreement, Seller and
                     Buyer shall execute and deliver to other Party such other instruments of conveyance and
                     transfer and such other documents as Buyer or Seller may reasonably request or as may be
                     otherwise necessary to more effectively consummate the transactions contemplated by this
                     Agreement, including without limitation the conveyance and transfer of the Assets to, and
                     vesting of the Assets in, Buyer, and to put Buyer in possession of the Assets and each part
                     thereof.

       (b)           Negotiated Agreement. This Agreement and the instruments to be executed pursuant to this
                     Agreement are the result of negotiations between Seller and Buyer. Accordingly, none of
                     the foregoing Parties shall be deemed to be the author of this Agreement or the resulting
                     documents, and there shall be no presumption that this Agreement or any of such
                     documents are to be construed for or against any such Party on the basis of the authorship
                     of the documents.

12.    Intentionally Omitted.


                                                         13
            Case 20-00662-jw                    Doc 80-3 Filed 08/04/20                       Entered 08/04/20 16:39:33                      Desc
                                                Exhibit C - PureCycle APA                     Page 10 of 17




13.   Closing Documents

      (a)           Seller’s Obligations. On the Closing Date, Seller shall deliver to Buyer physical possession
                    of all Assets, and shall execute and/or deliver to Buyer all of the following:

              (i)          Resolutions. Copies of resolutions of Watertech certified by the president/manager
                           of same, authorizing the execution, delivery and performance of this Agreement
                           and the transactions contemplated hereby.

             (ii)          Bill of Sale; Assignment and Assumption Agreement. The Bill of Sale and the             Deleted:            Section Break (Next Page)
                           Assignment and Assumption Agreement, with each properly executed.

            (iii)          Consents. Any and all Consents.

      (b)           Buyer’s Obligations. On the Closing Date, Buyer shall deliver to Seller the following:

              (i)          Resolutions. If requested by Seller in writing, Buyer shall deliver copies of
                           resolutions of Buyer authorizing the execution, delivery and performance of this
                           Agreement and the transactions contemplated hereby; and

            (ii)           Payment. The Closing Date Payment.


      (c)           Joint Obligations. On the Closing Date, the Parties will deliver each to the other the
                    certificates, records, schedules, exhibits, and the other documents required by the terms of
                    this Agreement.

14.   Seller’s Restrictive Covenants.

      (a)           Acknowledgments of the Parties. The Seller acknowledges, agrees and expects that the
                    Buyer will continue to invest significant time, money and resources to develop and
                    maintain the Assets and the Business, including without limitation the Goodwill associated
                    with the Business and its Customers/Suppliers (each as defined below).

      (b)           Restrictive Covenants. The Seller hereby agrees that as soon as possible, the Seller shall
                    wind-up its final outstanding business and file articles of dissolution with respect to the
                    Seller, its subsidiaries and its directly affiliated entities.

15.   Additional Provisions.

      (a)           [INTENTIONALLY OMITTED]

      (b)           Notices. All notices given in connection with or pursuant to this Agreement shall be in
                    writing and shall be effective only if delivered personally to, or sent by registered or
                    certified mail, postage prepaid, return receipt requested, to the Parties as follows:

                           To Buyer:
                                                                                                                   Forma4ed: Indent: Le;: 1.6", First line: 0.5"
                                   Purecycle LLC
                                                                                                                          Deleted: Watertech Asset Acquisition
                                   In care of:                                                                            Group, LLC
                                   12000 North Bayshore Drive
                                                                                                                          Deleted:

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      Case 20-00662-jw               Doc 80-3 Filed 08/04/20                        Entered 08/04/20 16:39:33                      Desc
                                     Exhibit C - PureCycle APA                      Page 11 of 17




                       Suite 202
                       North Miami, FL 33181                                                                        Deleted: 875 Walt Miller Street,
                       Attention: David Pobiak                                                                      Suite A1 Mount Pleasant, SC 29464
                                                                                                                    Deleted: Scott Alderson
               To Watertech:

                       Watertech Holdings, LLC (f/k/a Watertech Equipment and Sales, LLC)
                       In care of:
                       4360 Corporate Rd.
                       Suite 100
                       North Charleston, SC 29405
                       Attention: Bob Fei                                                                Deleted:            Section Break (Next Page)
                                                                                                         Forma4ed: Space Before: 0 pt
(c)     Assignment; Successors and Assigns. This Agreement or any right hereunder shall not be
        assigned by any Party without the written consent of the other Party(ies). Subject to the
        previous sentence, this Agreement shall inure to the benefit of and be binding upon the
        successors, heirs, distributees, legal representatives and assigns of the respective Parties
        hereto.

(d)     Entire Agreement. This Agreement constitutes the entire agreement between the Parties
        hereto relating to the transactions contemplated hereunder, and may not be changed except
        by an instrument in writing signed by all Parties and approved by the Court. This
        Agreement may be executed in any number of counterparts and each counterpart shall
        constitute an original instrument, but all such separate counterparts shall constitute only
        one and the same instrument.

(e)     Partial Invalidity. In case any one or more of the provisions contained herein shall, for any
        reason, be held to be invalid, illegal or unenforceable in any respect, such invalidity,
        illegality or unenforceability shall not affect any other provisions of this Agreement, but
        this Agreement shall be construed as if such invalid, illegal or unenforceable provision or
        provisions had never been contained herein.

(f)     Titles and Headings. Titles and headings to sections herein are inserted for convenience of
        reference only and are not intended to be a part of or to affect the meaning or interpretation
        of this Agreement.

(g)     Third Party Beneficiaries. Each Party hereto intends that this Agreement shall not benefit
        or create any right or cause of action in or on behalf of any person or entity other than the
        Parties hereto, including their proper successors and assigns.

(h)     Waiver of Jury Trial. EACH OF THE PARTIES HEREBY IRREVOCABLY WAIVES,
        TO THE FULLEST EXTENT PERMITTED BY LAW, ALL RIGHTS TO TRIAL BY
        JURY IN ANY ACTION, PROCEEDING, OR COUNTERCLAIM (WHETHER BASED
        UPON CONTRACT, TORT OR OTHERWISE) ARISING OUT OF OR RELATING TO
        THIS AGREEMENT OR ANY OF THE TRANSACTIONS CONTEMPLATED
        HEREBY.

(i)     Commissions, Brokers and Finders’ Fees. Each of the Parties represents that the
        negotiations relative to this Agreement and the transactions contemplated hereby have been
        carried on by Seller directly with Buyer and in such manner as not to give rise to any claims
        against any of the Parties hereto for a brokerage commission, finders’ fee or other like
        payment. Insofar as any such claims are made which are alleged to be based on an
                                             13
      Case 20-00662-jw                   Doc 80-3 Filed 08/04/20                       Entered 08/04/20 16:39:33         Desc
                                         Exhibit C - PureCycle APA                     Page 12 of 17




             agreement or arrangements made by, or on behalf of, a Party, such Party agrees to defend,
             indemnify and hold the other party harmless from and against all such liability, loss, cost,
             charge or expense, including reasonable counsel fees, as may arise therefrom.

(j)          Expenses. Each Party hereto will bear the legal, accounting and other expenses incurred by
             such Party in connection with the negotiation, preparation and execution of this Agreement
             and the transactions contemplated hereby.

             Waiver of Compliance. Any failure of Seller, on the one hand, or Buyer, on the other, to
             comply with any obligations, covenants, agreements or conditions herein may be expressly       Deleted: ¶          ... [3]
             waived in writing by Buyer or Seller(s), respectively, but such waiver or failure to insist
             upon strict compliance with such obligation, covenant, agreement or condition shall not
             operate as a waiver of, or estoppel with respect to, any subsequent or other failure.

(k)          Confidentiality; Public Announcement. With respect to all information disclosed by either
             Party to the other in connection with this Agreement, and its exhibits, and not contained
             herein, are confidential and may only be disclosed by the parties to their respective
             directors, advisers and employees on a need to know basis. Notwithstanding the foregoing,
             any disclosure of information required by the Bankruptcy Court with respect to the
             transactions contemplated herein shall not be a breach of this confidentiality obligation;
             and, further, upon the Closing, Buyer shall have the right and discretion to draft and
             disseminate a public announcement and/or press release describing the purchase of the
             Business by Buyer and the industry-related consequences thereof.

(l)          Non-Disparagement. No Party will disparage or otherwise publish or communicate
             “derogatory” statements or opinions about the other Party or such Party’s businesses or
             personnel, be it verbally or in writing. For purposes of this Agreement, “derogatory” means
             a statement that detracts from a Party’s character, standing, or reputation.

(m)          Governing Law; Etc.

      (i)           This Agreement and the legal relations among the Parties hereto shall be governed
                    by and construed by the Court in accordance with the laws of the State of South
                    Carolina, without regard to any conflicts of law doctrine.

      (ii)          Any action or proceeding based on this Agreement shall be brought only in the
                    Court which shall maintain jurisdiction over the Case and this Agreement to the
                    fullest extent allowable. Buyer and Seller hereby submit to the exclusive personal
                    jurisdiction of the Court, and waive any rights to contest same including without
                    limitation based upon allegations of inconvenient forum. In the event of litigation
                    or other formal proceedings involving this Agreement, the non-prevailing party
                    shall reimburse the prevailing or substantially prevailing party for all costs and
                    expenses, including reasonable attorneys’ fees and expenses, incurred in connection
                    with any such litigation, including any appeal. In the event any party requires
                    equitable relief, including without limitation due to any breach by any of Seller of
                    the restrictive covenants set forth in Section 14 hereinabove, said party may seek
                    preliminary or permanent injunctive relief including without limitation by seeking
                    a temporary restraining order, on an ex-parte basis, and without any requirement to
                    post a bond, which requirement (if any) is hereby deemed waived.




                                                  13
Case 20-00662-jw   Doc 80-3 Filed 08/04/20         Entered 08/04/20 16:39:33   Desc
                   Exhibit C - PureCycle APA       Page 13 of 17




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                (signatures on following page)




                         13
          Case 20-00662-jw               Doc 80-3 Filed 08/04/20              Entered 08/04/20 16:39:33                 Desc
                                         Exhibit C - PureCycle APA            Page 14 of 17




IN WITNESS WHEREOF, the Parties hereto have executed this First Amended and Restated Asset
Purchase Agreement, as of the Modification Date first set forth herein above.


BUYER:

PURECYCLE LLC                                                                                Deleted: WATERTECH ASSET ACQUISITION GROUP,
                                                                                             LLC



____________________________________________
By: David Pobiak                                                                             Deleted:

Its: Manager                                                                                 Deleted: Steven Gareleck




SELLER:

WATERTECH HOLDINGS, LLC (F/K/A WATERTECH EQUIPMENT AND SALES, LLC)



By:
Its: Managing Member




                                               14
           Case 20-00662-jw                 Doc 80-3 Filed 08/04/20                        Entered 08/04/20 16:39:33      Desc
                                            Exhibit C - PureCycle APA                      Page 15 of 17




                                         EXHIBIT 1
                            TO THE ASSET PURCHASE AGREEMENT                                                   Deleted: FIRST AMENDED AND
                                                                                                              RESTATED
                                              THE ASSETS

Intellectual Property

Patent Filing

EFS ID:                        28998854
Reference Number:              44873-0002WO1
Confirmation Number:           1153
Int’l Application Number:      PCT/US17/28991

Telephone and Internet Assets

Customers and Consumer Lists/Accounts

•    Any and all prospect and potential customer lists and accounts (including without limitation email
     address lists), aggregated, collected, maintained or procured by Seller during or for the operation
     of the Business, through and including the Closing Date, including without limitation customer
     and consumer names, addresses, telephone numbers, fax numbers, emails and account histories,
     etc.
Goodwill

•      Any and all goodwill associated with the Business on and as of the Closing Date

Environmental and Hazard Remediation Technology

Additional Items:
The Watertech derivative lawsuit
That certain Exclusive Patent Sublicense Agreement dated October 31,2017, as amended from time-to-time
The NGI settlement agreement
The NGI promissory note
The NGI stock certificates
All rights related to NDAs, non-competition agreements, ownership of inventions, etc from
employment, consulting or subscription agreements between Watertech or any of its subsidiaries and
any employee, consultant, contractor, unitholder or creditor.
Any restrictive covenant agreements (NDAs, non-competition agreements, etc.)
All consulting agreements between Watertech, or any of its subsidiaries, and any consultant
All employment agreements between Clean Earth Enterprises, or any of its subsidiaries, and any
employee
All consulting agreements between Clean Earth Enterprises, or any of its subsidiaries, and/or any
consultant
All organizational documents, including but not limited to: operating agreements, articles of
organization, by-laws and articles of incorporation for Watertech and its subsidiaries, Clean Earth
Enterprises and its subsidiaries or any other company in which Watertech holds any ownership interest
All organizational documents and agreements involving Algae to Omega LLC, Algae to Omega
Holdings, Algae Matrix Technologies, Clean Earth Algae USA, etc.



                                                     15
           Case 20-00662-jw              Doc 80-3 Filed 08/04/20                      Entered 08/04/20 16:39:33   Desc
                                         Exhibit C - PureCycle APA                    Page 16 of 17




All non-disclosure and/or non-compete agreements between Watertech or its subsidiaries, Clean Earth
Enterprises or its subsidiaries or any other company in which Watertech holds any ownership interest
and its employee, consultant or any other individual doing work on behalf of such entity.




                                                  16
   Case 20-00662-jw    Doc 80-3 Filed 08/04/20     Entered 08/04/20 16:39:33    Desc
                       Exhibit C - PureCycle APA   Page 17 of 17



Page 13: [1] Deleted                      Jay                          7/31/20 1:08:00 PM

Page 18: [2] Deleted                      Jay                          7/31/20 1:10:00 PM

Page 24: [3] Deleted                      Jay                          7/31/20 1:13:00 PM




                                          12
